                                                                                Electronically Filed - Cedar - October 04, 2021 - 03:36 PM
                                                                 21CD-CV00445




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 1 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 2 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 3 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 4 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 5 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 6 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 7 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 8 of 16
Exhibit-A
                                                                              Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 9 of 16
Exhibit-A
                                                                               Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 10 of 16
Exhibit-A
                                                                               Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 11 of 16
Exhibit-A
                                                                               Electronically Filed - Cedar - October 04, 2021 - 03:36 PM




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 12 of 16
Exhibit-A
                                                                                Electronically Filed - Cedar - October 04, 2021 - 03:36 PM
                                                                 21CD-CV00445




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 13 of 16
Exhibit-A
             IN THE 28TH JUDICIAL CIRCUIT, CEDAR COUNTY, MISSOURI

Judge or Division:                                              Case Number: 21CD-CV00445
DAVID R. MUNTON
                                                                                                                                 FILED
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
                                                                                                                                10/4/2021
CAROLE BOUGH                                                    KATHRYN ANN MILLINGTON                                CIRCUIT-ASSOCIATE-PROBATE
                                                                1901A SOUTH VENTURA                                   MELINDA GUMM, CIRCUIT CLERK
                                                          vs.   SPRINGFIELD, MO 65804                                 CIRCUIT COURT CEDAR COUNTY
Defendant/Respondent:                                           Court Address:
CEDAR COUNTY                                                    CEDAR COUNTY COURTHOUSE
Nature of Suit:                                                 113 SOUTH STREET
CC Employmnt Discrmntn 213.111                                  P O BOX 665
                                                                STOCKTON, MO 65785                                          (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: CEDAR COUNTY
                            Alias:
 SERVE: KATHERINE THOMPSON
 NEALE AND NEWMAN, LLP
 2144 E. REPUBLIC ROAD
 SUITE F-302
 SPRINGFIELD, MO 65804
      COURT SEAL OF       You           are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                              04-OCT-2021                                               /s/ Sarah Turner
                                    _______________________________       ______________________________________________________
       CEDAR COUNTY
                                                      Date                                                  Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                 ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-274    Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                     Case 6:21-cv-03284-MDH Document 1-2 1Filed
                                                           of 1
                                                                11/03/21       Page 14 of 16
    Exhibit-A                                                     54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                         Electronically Filed - Cedar - October 28, 2021 - 01:50 PM
                     IN THE CIRCUIT COURT OF CEDAR COUNTY, MISSOURI

     CAROLE BOUGH,                                        )
                                                          )
                                      Plaintiff,          )
                                                          )
     vs.                                                  ) Case No.21CD-CV00445
                                                          )
     CEDAR COUNTY,                                        )
     A political subdivision of the                       )
     State of Missouri,                                   )
                                                          )
                                      Defendant.          )

                                        CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on the 28th day of October, 2021, a true and correct

     copy of the following was sent via e-mail, to the below attorneys of record.

                1. Plaintiff’s First Interrogatories to Defendant; and
                2. Plaintiff’s First Request for Production of Documents to Defendant.


                 Ms. Katherine Thompson
                 Neale & Newman, LLP
                 2144 E. Republic Road, Suite F-302
                 Springfield, MO 65804
                 kthompson@nnlaw.com



                                                          /s/    Kate Millington
                                                          Kate Millington, MBN 66086
                                                          MILLINGTON, GLASS & LOVE
                                                          1901 S. Ventura Avenue, Suite A
                                                          Springfield, Missouri 65804
                                                          Telephone: 417/883-6566
                                                          Facsimile: 417/883-6689
                                                          kmillington@springfieldlaw.net
                                                          ATTORNEYS FOR PLAINTIFF




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 15 of 16
Exhibit-A
                                                                                                         Electronically Filed - Cedar - October 28, 2021 - 01:50 PM
                     IN THE CIRCUIT COURT OF CEDAR COUNTY, MISSOURI

     CAROLE BOUGH,                                        )
                                                          )
                                      Plaintiff,          )
                                                          )
     vs.                                                  ) Case No.21CD-CV00445
                                                          )
     CEDAR COUNTY,                                        )
     A political subdivision of the                       )
     State of Missouri,                                   )
                                                          )
                                      Defendant.          )

                                        CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on the 28th day of October, 2021, a true and correct

     copy of the following was sent via e-mail, to the below attorneys of record.

                1. Plaintiff’s First Interrogatories to Defendant; and
                2. Plaintiff’s First Request for Production of Documents to Defendant.


                 Ms. Katherine Thompson
                 Neale & Newman, LLP
                 2144 E. Republic Road, Suite F-302
                 Springfield, MO 65804
                 kthompson@nnlaw.com



                                                          /s/    Kate Millington
                                                          Kate Millington, MBN 66086
                                                          MILLINGTON, GLASS & LOVE
                                                          1901 S. Ventura Avenue, Suite A
                                                          Springfield, Missouri 65804
                                                          Telephone: 417/883-6566
                                                          Facsimile: 417/883-6689
                                                          kmillington@springfieldlaw.net
                                                          ATTORNEYS FOR PLAINTIFF




            Case 6:21-cv-03284-MDH Document 1-2 Filed 11/03/21 Page 16 of 16
Exhibit-A
